
664 S.E.2d 312 (2008)
STATE of North Carolina
v.
Lauren Elizabeth CROWE.
No. 98P08.
Supreme Court of North Carolina.
June 11, 2008.
Christopher G. Browning, Jr., Solicitor General, Michael Bonfoey, District Attorney, for State of NC.
Vincent F. Rabil, for Crowe.
Prior report: ___ N.C.App. ___, 656 S.E.2d 688.

ORDER
Upon consideration of the petition filed by State of NC on the 6th day of March 2008 for Writ of Supersedeas of the judgment of the *313 Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
Upon consideration of the petition filed on the 6th day of March 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
